UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

WESTERN DIVISION
KHALIF FERGUSON, Case No. CV 20-03279-PSG (DFM)
Petitioner, Order Accepting Report and
Recommendation of United States
V. Magistrate Judge
PEOPLE OF THE STATE OF
CALIFORNIA,
Respondent.

 

 

Under 28 U.S.C. § 636, the Court has reviewed the Petition, the other
records on file herein, and the Report and Recommendation of the United
States Magistrate Judge. Further, the Court has engaged in a de novo review of
those portions of the Report and Recommendation to which objections have
been made. The Court accepts the report, findings, and recommendations of
the Magistrate Judge.

IT IS THEREFORE ORDERED that Judgment be entered dismissing

the Petition without prejudice.
Date: of? 10) ward Le.

PHILIYS. GUTIERREZ
Chief United States District Judge
